      Case 2:10-cr-00547-RFB-PAL              Document 784               Filed 02/28/13      Page 1 of 1




                                   UNITED STATES DISTRICT COURT
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 UNITED STA TES OF A M ERICA ,
                Plaintiftl
                                                                       DistrictNo. 2:10-CR-547-RLH -PAL




 NICHOLAS GHARFOURIA ,

                      Defendant.

                         O RDER TEM POM RILY UNSEALING TRANSCRIPT

         On February 19th, 2013tlliscourtreceived atranscriptorderform datedFebruary 11th,2013requestinga
Transcript oftheSentencing hearing heldon January 3rd,2013 from Mr. W illiam Gamage,CounselforDefendant
NicholasGharfouria,inwhich a portion oftllehearingissealed.



         IT IS THE ORDER OF T'    H E COURT thatthesealedportion oftherecording shallbe unsealed by the
Clerk forthelim ited purposeofprovidingatranscriptofhearing asrequested by DefendantCounselW illiam
Gamage.


        IT IS FURTHER ORDERED thatthe sealed portion oftherecording shallthereaherberesealedby the
Clerk,untilfurtherorderofthisCourt.


         IT IS FURTHER ORDERED thatDefendantCounselshallnotdisclosethesealed contentsofthe
transcriptto anyoneotherthantherepresentativesofthepaftiesdirectly concernedwith thiscmse.


       DATEDthi,./ %-dayofFebruary2013. ,



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                                                 UnitedSàtesDistrictJudge
